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     Attorney for Defendant Larry Wells
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 8
                                   UNITED STATES DISTRICT COURT
 9
                                 EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA            )                  CASE NO. 2:04-cr-00069-MCE
12                                       )
                Plaintiff,               )
13                                       )
          v.                             )                  STIPULATION AND
14                                       )                  ORDER
     LARRY WELLS,                        )                  RE: SELF-SURRENDER DATE
15                                       )
                                         )                  Date: September 26, 2007
16              Defendant.               )
     ___________________________________ )
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18
            With the Court’s permission, defendant LARRY WELLS and the UNITED STATES OF
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     AMERICA, by and through their undersigned counsel, do hereby stipulate and agree to continue
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     the date for Larry Wells’ self-surrender from the presently scheduled date of September 28, 2007
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     to January 19, 2008 at 2:00 p.m. This request is made for medical and humanitarian reasons.
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            The Court is already familiar with certain facts relative to the health of the defendant’s
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     wife, Dianna Wells, who has esopheagal cancer. Larry Wells has been and continues to be her
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     full-time caregiver. I have reviewed certain of her medical records, and on Tuesday, September
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     25, 2007, I spoke directly with her surgical oncologist, Mark Vierra, MD, FACS.
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            Dr. Vierra informed me that Dianna Wells’ battle with cancer is nearly over. In all
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     likelihood, this will be the last request for such a continuance.
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 1          Dr. Vierra has provided letters and medical records to this office and is available to
 2   discuss Ms. Wells’ medical situation at any time. He be reached at Monterey County Surgical
 3   Associates, 950 Cass Street, Monterey, CA 93940, phone (831) 649-0808.
 4          Accordingly, it is respectfully requested that this Court order that Larry Wells’ presently
 5   scheduled surrender date of September 28, 2007 be vacated, and that he be allowed to surrender
 6   himself to his designated Bureau of Prisons facility before 2:00 p.m. on January 19, 2008.
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10 DATED: September 26, 2007                     /s/ William J. Portanova
                                                 WILLIAM J. PORTANOVA
11                                               Attorney for Defendant LARRY WELLS
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13
     DATED: September 26, 2007                   /s/ Stephen R. Lapham (by WJP)
14                                               STEPHEN R. LAPHAM
                                                 Assistant United States Attorney
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17 IT IS SO ORDERED.
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      Dated: September 27, 2007
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                                                  ________________________________
20                                                MORRISON C. ENGLAND, JR.
                                                  UNITED STATES DISTRICT JUDGE
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